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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 16-62902-CIV-ZLOCH


  WILLIAM MCLEOD,

              Plaintiff,

  vs.                                                   O R D E R

  MONAKER GROUP, INC., et al.,

              Defendants.
                                          /

        THIS MATTER is before the Court upon Defendants Monaker Group,

  Inc., William Kerby, and Don Monaco’s Motion To Dismiss The Class

  Action Complaint (DE 30) and Defendant Pruzansky, PA.’s, Motion To

  Dismiss    The   Class    Action   Complaint   (DE   31).      The    Court   has

  carefully reviewed said Motions, the entire court file and is

  otherwise fully advised in the premises.

        By   the   instant     Motions,   Defendants    argue    that    Plantiff

  McLeod’s Complaint (DE 1) fails to satisfy the pleading standards

  and must be dismissed for failure to state a claim.

                      I. Allegations of the Complaint

        The Complaint (DE 1) alleges that Defendants Kerby and Monaco

  (hereinafter D&O Defendants) defrauded investors by their own acts

  and   omissions,     and     through    Defendant    Monaker     Group,       Inc.

  (hereinafter “Monaker”), which they controlled as Directors and

  Officers.    The Complaint alleges that the D&O Defendants and/or

  Monaker knowingly made a number of statements to the investing

  public that were materially false as to the relationship between


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  Monaker and a second company, RealBiz Media Group, Inc. Monaker is

  alleged to have secretly funneled $11.1 million to Real Biz,

  without any benefit to Monaker, and investors were duped into

  purchasing shares in a company that was destroying its own value

  for the benefit of another company.          Plaintiff also alleges that

  Defendant Pruzansky, P.A. (hereinafter “Pruzansky”), as the auditor

  for Monaker, assisted the other Defendants with their fraud by

  intentionally    or   recklessly    violating    duties    of   professional

  conduct in order to provide audit reports that concealed Monaker’s

  improper business     practices, knowing that they would be included

  in Monaker’s public statements.        The Complaint (DE 1) alleges that

  Plaintiff relied upon the aforementioned communications from all

  Defendants in his decision to invest in Monaker and was harmed as

  a result, losing 90% of his investment.

        Five counts remain in the Complaint (DE 1) after the state law

  claim was dismissed.1 Counts I and II of the Complaint allege

  violations of the Securities Act of 1933 (hereinafter Securities

  Act).    The D&O Defendants are accused of violating § 15 of the

  Securities Act, as controlling persons liable for Monaker’s alleged

  § 11 and/or § 12 violations.           Count II alleges that Defendant

  Monaker and the D&O Defendants violated § 17(a)1.

        Counts III through V allege violations of the Securities and

  Exchange Act of 1934 (hereinafter Exchange Act).                Count Three



        1
          By previous Order (DE 7) the Court declined to exercise jurisdiction
  over Count VI, a state law claim, but the Final Order of Dismissal (DE 7)
  mistakenly referred to the state law claim as Count V.

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  alleges that the D&O Defendants violated § 10(b) of the Exchange

  Act and    the   associated SEC    Rule   10b-5   by   causing artificial

  inflation in Monaker stock value by means of false and misleading

  reports and thereby defrauded investors. Count IV alleges that the

  D&O Defendants violated § 20(a) as controlling persons responsible

  for Monaker’s alleged fraud under violations of § 10(b) and Rule

  10b-5.    Count V alleges that Pruzansky also violated § 10(b) and

  Rule 10b-5 by submitting materially false audits with reckless

  disregard for the truth and that investors were defrauded as a

  result.

                                 II. Standard

        Under Federal Rule of Civil Procedure 8(a), a pleading “must

  contain . . . a short and plain statement of the claim showing that

  the pleader is entitled to relief.”       Fed. R. Civ. P. 8(a). In order

  to defeat a motion to dismiss, a complaint must allege facts which

  render its legal claims facially plausible.             Bell Atlantic v.

  Twombly, 550 U.S. 544 (2007). Facial plausibility is achieved when

  the district court can reasonably infer from the facts that the

  defendant is liable for the alleged wrongdoing. Ashcroft v. Iqbal,

  129 S. Ct. 1937, 1949 (2009).

        Federal Rule of Civil Procedure 9(b) requires that “[i]n

  alleging fraud or mistake, a party must state with particularity

  the circumstances constituting fraud or mistake.”         Fed. R. Civ. P.

  9(b).     “The   ‘particularity’    requirement   ‘serves   an   important

  purpose in fraud actions by alerting defendants to the precise



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  misconduct with which they are charged and protecting defendants

  against spurious charges of immoral and fraudulent behavior.’”

  West Coast Roofing and Waterproofing, Inc. v. Johns Manville, Inc.,

  287 F. App’x 81, 86 (11th Cir. 2008) (citing Ziemba v. Cascade

  Intern., Inc., 256 F.3d 1194, 1202 (11th Cir. 2001)).             To satisfy

  this requirement, the Eleventh Circuit requires that a complaint

  identify     “(1)     the    precise      statements,      documents     or

  misrepresentations made; (2) the time and place of and persons

  responsible for the statement; (3) the content and manner in which

  the statements misled the plaintiff; and (4) what the Defendants

  gains [sic] by the alleged fraud.”          West Coast Roofing, 287 F.

  App’x at 86.     Conclusory allegations that fraudulent statements

  were made will not do; Rule 9(b) requires that a complaint plead

  facts giving rise to an inference of fraud.         Id.

        A claim of fraud under Securities Act 10(b) and SEC Rule 10b-5

  must satisfy Rule 9(b) pleading requirements.           Ziemba v. Cascade

  Intern., Inc., 256 F.3d 1194, 1202 (11th Cir. 2001). Additionally,

  in the Eleventh Circuit, the Rule 9(b) particularity requirements

  are applied not only to a § 10(b)/Rule 10b-5 claim of fraud, but

  also to an Exchange Act § 11 or § 12(a)(2) claim “when the facts

  underlying the misrepresentation at stake in the claim are said to

  be part of a fraud claim, as alleged elsewhere in the complaint.”

  Wagner v. First Horizon Pharmaceutical Corp., 464 F.3d 1273, 1278

  (11th Cir. 2006).

        The   Private   Securities    Litigation    Reform    Act    of   1995



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  (hereinafter PSLA), 109 Stat. 737, further articulates pleading

  requirements for allegations of security fraud under the Exchange

  Act.    The PSLA provides that complaints alleging securities fraud

  must “specify each statement alleged to have been misleading, the

  reason or reasons why the statement is misleading, and, if an

  allegation     regarding     the   statement       or   omission     is   made    on

  information     and    belief,     the        complaint      shall   state       with

  particularity all facts on which that belief is formed;” and must

  also “state with particularity facts giving rise to a strong

  inference that defendant acted with the required state of mind.”

  15 U.S.C. §§ 78u-4(b)(1), (2). In addition, the PSLA provides that

  plaintiffs     “have   the    burden         of   proving”    that   defendant’s

  misrepresentations “caused the loss for which the plaintiff seeks

  to recover.”    15 U.S.C. § 78u-4(b)(4).           This burden implies a duty

  on the part of the plaintiff to adequately plead causation and

  loss.     See Dura Pharm., Inc. V. Broudo, 544 U.S. 336, 345-346

  (2005).

  III. Analysis

         As Plaintiff admits in his response to the instant Motion (DE

  40, p. 21), the law in the Eleventh Circuit does not recognize a

  private right of action for violations of § 17(a)1. See, Currie v.

  Cayman Res. Corp., 835 F.2d 780, 784 (11th Cir. 1988).                    Count II

  must therefore be dismissed.

         Counts III through V are subject to Rule 9(b) as each is

  predicated on alleged violations of § 10(b) of the Exchange Act and



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  SEC Rule 10b-5.         In addition, these counts are subject to the

  heightened pleading standard set forth in the PSLA.                   Defendants

  argue that these counts fail to satisfy the applicable pleading

  standards. The Court agrees. Plaintiff fails to adequately allege

  proximate causation and economic loss.               The Complaint (DE 1) here

  is similar to that at issue in Dura Pharmaceuticals.             In that case,

  the   Supreme   Court    held   that    a    §   10(b)/Rule   10b-5   claim   was

  inadequately    pled     because   it       failed   to   sufficiently    allege

  causation and loss.      Dura Pharm. Inc. V. Broudo, 544 U.S. 336, 347-

  348 (2005).      The Court in Dura identified only one statement

  describing Plaintiffs’ loss:

        That   statement   says   that   the   plaintiffs   “paid
        artificially inflated prices for Dura[‘s] securities” and
        suffered “damages[s].” That statement implies that the
        plaintiffs’ loss consisted of the “artificially inflated”
        purchase “prices.” The complaint’s failure to claim that
        Dura’s share price fell significantly after the truth
        became known suggests that the plaintiffs considered the
        allegation of purchase price inflation alone sufficient.

  Id. at 347 (citation omitted). The court held that price inflation

  “is not itself a relevant economic loss” and because “the complaint

  nowhere else provides the defendants with notice of what the

  relevant economic loss might be or of what the causal connection

  might be between that loss and the misrepresentation” the court

  concluded that plaintiffs failed to adequately plead their claim.

  Id.   In this case, Plaintiff’s Complaint is only slightly more

  specific.    It alleges that the price was             “continually depressed

  and manipulated,” (DE 1, ¶ 37) but also “artificially inflated,”


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  (DE 1, ¶ 111-12).     It further alleges that because of Defendants’

  false statements, Monaker stock “fluctuated rapidly during the

  class period” (DE 1, ¶ 87).          Though a strange combination, it is

  not logically impossible for all three statements to be true.                The

  stock could have been depressed in value but nevertheless inflated

  beyond the even lower value that it should have had and could have

  maintained    these    trends    while     also   fluctuating.          However,

  considered alongside Plaintiff’s vague claim of loss, more details

  are required to make sense of the loss causation allegations and

  satisfy the pleading requirements.

        Plaintiff’s     claims    of   economic     loss    also   fall     short.

  Plaintiff claims that “Monaker’s stockholders lost approximately

  $20,000,000 in Class investment funds as a result of the fact that

  Monaker never accomplished its lofty goals and objectives” (DE 1,

  p. 31).      The loss of investor funds might be grounds for a

  derivative suit, but it is not relevant to a claim of securities

  fraud.    To recover under a     § 10(b) action a plaintiff must prove

  a “loss incurred by the plaintiff or plaintiffs.” 15 U.S.C. § 784-

  u(b)(4).   A company’s loss of investor funds is proximately a loss

  incurred by the company, not the investors.          Plaintiff is somewhat

  more precise in alleging his own particular loss, claiming that his

  investment “lost approximately 90% of its value during the time

  period he invested in Monaker” (DE 1, p. 4).             However, Plaintiff’s

  vague and somewhat confusing account of the changes to Monaker’s

  stock value during the class period does not provide an anchor



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  point to which his alleged losses might be tethered.                  Counts III,

  IV, and V must therefore be dismissed, though with leave to amend

  and re-file.

           Plaintiff’s claim in Count I of a violation of § 15 of the

  Securities Act is an implicit allegation of fraud under § 11 and/or

  §   12    and   is   also   subject   to       the   Rule   9(b)   requirement   of

  particularity in pleading.        The D & O Defendants argue that Count

  I must be dismissed because Plaintiff has not explicitly pled a §

  11 or § 12 claim as to Monaker.            However, Plaintiff’s statement of

  facts, incorporated by reference in Count I, sufficiently alleges

  conduct so as to satisfy this requirement.                  However, for the sake

  of efficiency Count I will be dismissed along with the rest of the

  Complaint, but with leave to amend and bring again.                    Accordingly,

  after due consideration, it is

           ORDERED AND ADJUDGED as follows:

           1. Defendants Monaker Group Inc., Kerby, and Monaco’s Motion

  To Dismiss The Class Action Complaint (DE 30) be and the same is

  hereby GRANTED such that Count I of the Complaint (DE 1) is hereby

  DISMISSED without prejudice, Count II is DISMISSED with prejudice,

  and Count III is DISMISSED without prejudice;

           2. Defendant Pruzansky, P.A.’s Motion To Dismiss The Class

  Action Complaint (DE 31) be and the same is hereby GRANTED, such

  that Counts IV and V of the Complaint (DE 1) are DISMISSED without

  prejudice;

           3. Count VI is deemed DISMISSED by previously filed Final


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  Order of Dismissal (DE 7); and

        4. Plaintiff shall have until noon on Friday, February 23,

  2018 to file an amended complaint.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this        24th         day of January, 2018.




                                      WILLIAM J. ZLOCH
                                      Sr. United States District Judge

  Copies furnished:

  All Counsel of Record




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